      Case 2:07-cr-20065-JWL       Document 195      Filed 07/29/15    Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                            Case No. 07-20065-03-JWL


Alejo Cesareo-Ayala,

                    Defendant.

                                 MEMORANDUM & ORDER

      Mr. Cesareo-Ayala was convicted by a jury of conspiracy to distribute and possession

with intent to distribute more than 5 kilograms of cocaine; possession with the intent to

distribute 500 grams or more of cocaine; and distribution of marijuana. The court sentenced Mr.

Cesareo-Ayala to 240 months imprisonment, the mandatory minimum sentence on the

conspiracy charge in light of the enhanced penalties triggered in 21 U.S.C. § 841(b)(1)(A) by the

government’s filing an information pursuant to 21 U.S.C. § 851.

      This matter is before the court on Mr. Cesareo-Ayala’s pro se motion for reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Cesareo-Ayala asks the court to

reduce his sentence based on Amendment 782 to the United States Sentencing Guidelines. The

motion is dismissed for lack of jurisdiction because the court lacks the authority to revise Mr.

Cesareo-Ayala’s sentence based on Amendment 782.             Federal courts, in general, lack

jurisdiction to reduce a term of imprisonment once it has been imposed. Freeman v. United

States, ––– U.S. ––––, 131 S. Ct. 2685, 2690 (2011). “A district court does not have inherent

authority to modify a previously imposed sentence; it may do so only pursuant to statutory
      Case 2:07-cr-20065-JWL        Document 195       Filed 07/29/15       Page 2 of 3




authorization.” United States v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997). Under limited

circumstances, modification of a sentence is possible under 18 U.S.C. § 3582(c). That provision

states that “a defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission” may be

eligible for a reduction, “if such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Mr. Cesareo-Ayala’s sentence

in this case was not “based on a sentencing range” but, instead, was based on a mandatory

statutory minimum under 21 U.S.C. §§ 841(b)(1)(A) and 851.                  The court, then, has no

jurisdiction to reduce Mr. Cesareo-Ayala's sentence.       Because Mr. Cesareo-Ayala remains

subject to the mandatory minimum sentence of 20 years regardless of the application of

Amendment 782, a reduction under § 3582(c)(2) is not authorized and Amendment 782 affords

no relief to Mr. Cesareo-Ayala. See United States v. Woods, 598 Fed. Appx. 567, 570 (10th Cir.

2015) (if a defendant is sentenced pursuant to a statutory mandatory minimum sentence

provision, he is ineligible for a sentence reduction under § 3582(c)(2)).



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Cesareo-Ayala’s

motion to reduce sentence (doc. 191) is dismissed.



       IT IS SO ORDERED.



       Dated this 29th day of July, 2015, at Kansas City, Kansas.



                                                 2
Case 2:07-cr-20065-JWL   Document 195   Filed 07/29/15    Page 3 of 3




                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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